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                                     Waymo v. Uber
                               Case No. 3:17-cv-00939-WHA



                   TRIAL EXHIBIT 5101

Uber Objections:

             Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
              statements made by Anthony Levandowski and documents and communications taken from
              Levandowski’s devices, including text messages and file metadata listings, and other sources,
              such as his Dropbox account history. See Br. § III.

             Fed. R. Evid. 403 – Because the document is replete with embedded hearsay, the Court should
              exercise its discretion under Rule 403 to exclude any reliance on the document for its truth, to
              prevent jury confusion about what fragments are admissible for truth, and resulting waste of time
              and prejudice to Uber. See Br. § IV.

             Designated witnesses who received this document pre-litigation are: Eric Tate and John Gardner.
              The document therefore cannot be admitted for a non-hearsay purpose of notice to Uber or
              Ottomotto. See Br. § IV.


                 Yellow Highlights                                       Hearsay Statements
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               Privileged & Confidential

                                           MORRISON & FOE RSTE R LLP:
                                              PROJE CT UNICORN

                         ANTHONY L E VANDOWSKI PRE LIMINARY FORE NSIC FINDINGS:
                                            JULY 28, 201 6

                ESOOl:   MACBO O K LAPTOP                ES002:   IPHONE
                ES003:                                   ES004:
                ES005:                                   ES006:
                ES007:                                   ES008:
                ES009:                                   ESOlO:   A@OT.TO
                ESOll:   A@OTTOMOTTO.COM                 ES012:
                ES027:   PERSONAL DROPBOX ACCOUNT        ES031:   PERSONAL DROBO NAS
                ES034    PERSONAL DESKTOP COMPUTER       ES045:   PERSONAL IPAD MINI
                ES048:   PERSONAL IPAD 3                 ES057:   NEXUS TABLET




  Exhibit 17                                                                           003199533
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               Levandowski provided Stroz Friedberg with 18 sources of media between March 22, 2016 and March 23,
               2016. Each piece of media was preserved and returned to Levandowski except the following, which are
               being stored in Stroz Friedberg's evidence vault:




               On March 30, 2016, Stroz Friedberg arranged to have 27 desktops and/or servers collected from
               Levandowski's storage facility located at Nemo Building Systems 18231 Murphy Parkway, Lathrop,
               California. At the request of the Clients, Stroz Friedberg did not create a forensic image of these devices
               and continues to store these devices in its evidence vault.




               Levandowski stored and accessed Google files on his personal laptop. Other Potentially Relevant files
               were accessed and subsequently deleted between 09/01/15 and 03/22/16. He also used his iPhone 6S
               Plus to communicate with Ms. Morgan regarding Shred Works in addition to sending a reminder text to
               an unknown recipient to delete iMessages every night 1.

               Levandowski indicated during his interview with Stroz Friedberg that he destroyed the five hard drives
               located within the Drobo2 storage device (ES031) and replaced those with new drives sometime in early
               March 2016. Evidence suggests that the Drobo2 device was last connected to the MacBook Pro (ES001)
               on 03/08/16 and was being used, in part, to create backups of his personal laptop.

               Lastly, Levandowski emptied the Trash on his MacBook Pro while he was at Stroz Friedberg's office on
               03/22/16 at approximately 12:12 PM.

               Below is a timeline of relevant events identified through analysis of Levandowski's devices.

                     oo   12-14-2015- Approximately 24,000 Potentially Relevant files and folders were moved from a
                          desktop folder to the Trash (ES001)
                     oo   12-22-2015 -USB device labelled "8GB" erased using MacBook Pro laptop (ES001)
                     oo   01-26-2016- AL's last day at Google
                     oo   01-26-2016- "USB device labelled "280" erased using MacBook Pro laptop (ES001)
                     oo   02-09-2016- Approximately 20,000 items were moved to the Trash (ES001)
                     oo   02-10-2016-160 GB of free space become available on the MacBook Pro laptop (ES001)
                     oo   02-19-2016-8 GB San Disk Cruzer erased using MacBook Pro laptop (ES001)



               1
                   Th is message is deleted and the Recipient field is no longer populated.
               Page I 2




  Exhibit 17                                                                                                                 003199533
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                   oo   02-26-2016- Text from Rhian Tm gonna go get your stuff destroyed this afternoon btw. ill send
                                                                                                                 sen
                        you a bill and a pic/video" (deleted) (ES002)
                   oo   03-01-2016 - Text from AL "Ok good reminder to delete the iMessages every night" (deleted)
                        (ES002)
                   oo   03-01-2016- Text from Rhian "i've been paying for shredding on my card, since it's not
                        technically a business expense for OM. LMK if I should expense it or send you a bill instead 0'
                        (deleted) (ES002)
                   oo   03-01-2016- Text from Rhian "Ricardo, the shredder at ShredWorks, has a thing for these baby
                        blues so he only charges me for about hal f the stuff they shred" ((deleted) (ES002)
                   oo   03-08-2016- Last known time the Drobo2 was connected to the MacBook Pro. (ES001)
                   oo   03-13-2016- Text from AL "We're ready for junk King" (deleted) (ES002)
                   oo   03-22-2016- Trash emptied (during the interview with Stroz Friedberg) (ES001)




               Stroz Friedberg analyzed each piece of media for evidence of:
                   1. data deletions or destruction;
                   2.   file copy or transfer activity; and
                   3.   the existence of Potentially Relevant content not sent to Relativity.

               Stroz used several techniques to accomplish this depending on the media type. Below are some
               examples of the techniques used during its analysis.

               All Devices

               Potentially Relevant Data: Stroz harvested and processed millions of files into Relativity, an eDiscovery
               review platform. This data was reviewed separately for Potentially Relevant data. Files not processed
               into Relativity, such as source code and pictures, were reviewed manually outside of Relativity. Stroz
               also performed keyword searches across unallocated space (if applicable to the device) to identify any
               Potentially Relevant data.

               Desktops and Laptops

               Deleted Content Review: Stroz analyzed system logs, unallocated space, and other system artifacts to
               identify files that once existed on the device. This information was then compared to the active files on
               the device to identify files no longer active on the device.

               File Copy or Transfer: Stroz analyzed system logs and other artifacts to identify the connection of
               external media and access to cloud repositories. Stroz then correlated that activity with other activity
               such as mass file access.
               Mob i le Devices

               Deleted Content Review: Stroz analyzed databases and system artifacts to identify Potentially Relevant
               data.


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  Exhibit 17                                                                                                               003199533
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               File Copy or Transfer: Stroz analyzed databases and system artifacts to identify access to cloud
               repositories and the existence of cloud storage apps.

               Removable Media

               Deleted Content Review: Stroz performed data carving across, and separately analyzed, unallocated
               space to identify files that may have once existed.

               File Copy or Transfer: Stroz compared the serial numbers of each piece of media to those connected to
               in scope computers. Stroz then compared file and system metadata to determine if files were copied
               between the devices.




                                                               ESOOl: MacBook Pro

               Summary of Deleted Content
               Stroz identified four external devices were connected to this laptop and subsequently erased/formatted
               between 09/01/15 and 02/16/16. Below is a summary of those devices.




               Stroz identified evidence of several deleted files and folders; specifically:
                       1. A folder titled "280";
                          2.   64 files in the folder titled "Otto";
                         3.    Approximately 89,000 files and folders deleted between November 2015 and March 2016;
                                   a.   Approximately 24,000 of which were located in the folder
                                        "/Users/anthony/Desktop/boards/chauffeur-svn/.svn", before they were moved to
                                        the Trash on or around 12/14/2015; and
                         4.    Approximately 20,000 files were deleted between 02/08/2016 and 02/09/2016. A majority
                               of those files were located in "_Source.sparsebundle" and "_Boards.sparsebundle" 2 ·

               Stroz also identified evidence that the Trash folder was emptied on 03/22/16 around 12:12 PM, which is
               during Levandowski's interview with Stroz Friedberg.

               Stroz identified evidence on or around 02/09/16 only 5.1 GB of free space was available on the laptop.
               The following day 165GB of free space was available.




               2
                   A sparsebundle is a disk image file used on Mac OSX and is used to store data.
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  Exhibit 17                                                                                                            003199533
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               Stroz reviewed the unallocated space of the hard drive and found fragments of data related to
               Chauffeur. Most of these fragments are only text strings of newsletter, email, and notes and cannot be
               associated with a date or a specific file. Stroz compared these fragments to the active files on the
               computer. The information identified in unallocated space appears to be duplicative to active file
               information. No additional relevant evidence was found within the unallocated space.

               Summary of Data Copy\Transfer
               Stroz identified access to several cloud storage repositories including Slack, Egnyte, Google Drive, and
               Dropbox. Review of the internet history shows accesses to Google Docs on 01/27/16 at 15:55 (UTe);
               specifically, a file named "Chauffeur TL weekly updates- Q4 2015- Google Sheets." Further review of
               the laptop identified a file named "Chauffeur TL weekly updates- Q4 2015.xlsx" in the user's Download
               folder; the file was created on 1/11/16 and was last accessed on 02/24/163 . The Slack team
               collaboration site titled "280systems" and "ottomotto" ware accessed on 01/12/16 and 03/10/16
               respectively, but no additional information regarding this activity was identified.

               Stroz identified evidence of files accessed from the laptop to the Drobo 2 storage device (ES031).
               Evidence suggests that the Drobo2 was used to back up the laptop; the most recent backup was dated
               02/08/2016. Evidence suggests the Drobo 2 was last connected to the laptop on 03/08/2016. Below
               are examples of entries found within system artifacts indicating the dates of the backup folders that
               once existed on the Drobo24 ·
                      oo
                       o   /Volumes/Drobo2/Backups
                           /Volumes/Drobo2/Backups.backupdb/Erica's
                                                   backupdb/Erica's MacBook/2015-08-22-144755
                                                                    MacBoo /2015-08-22-14475
                      oo
                       o   /Volumes/Drobo2/Backups.backupdb/Erica's
                           /Volumes/Drobo2/Backups backupdb/Erica's MacBook/2015-08-29-203418
                                                                    MacBoo /2015-08-29-20341
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's
                           /Volumes/Drobo2/Backups backupdb/Erica's MacBook/2015-09-05-152019
                      oo   /Vol umes/Drobo2/Backu ps. backupd b/E rica's M acBook/2015-09-17-023213
                      oo
                       o   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-09-22-091427
                                                                    MacBook/2015-09-22 091427
                      oo
                       o   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-10-02-223222
                                                                    MacBook/2015-10-02 22322
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-10-10-170129
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-10-17-114831
                                                                                            1
                      oo
                       o   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-11-06-080600
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's
                           /Volumes/Drobo2/Backups backupdb/Erica's MacBook/2015-11-21-202000
                                                                    MacBook/2015 11-21-202000
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's
                           /Volumes/Drobo2/Backup backupdb/Erica's MacBook/2015-12-08-095641
                                                                    MacBook/2015-12-08-09564
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2015-12-15-120320
                      oo   /Vol umes/Drobo2/Backu ps. backupd b/E rica's M acBook/2015-12-27-091416
                      oo   /Vol umes/Drobo2/Backu ps. backupd b/E rica's M acBook/2016-01-09-190411
                                                                                    16-01-09 190411
                      oo   /Vol umes/Drobo2/Backu ps. backupd b/E rica's M acBook/2016-01-13-211821
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2016-01-30-090832
                      oo   /Volumes/Drobo2/Backups.backupdb/Erica's MacBook/2016-02-08-133657

               Summary of Potentially Relevant Data
               Stroz Friedberg's forensic analysis identified Potentially Relevant data stored on this laptop. For
               example, we located 71 files within the users' Download folder that contain the word "Chauffeur" in the
               file name. Stroz also identified that the user synced his Google work email with the laptop and

               3 The last accessed dates can reflect file interaction with a user or a system process. Stroz determined these timestamps to likely be the result
               of user int eraction because they appear to be targeted access.

               4
                   The hostname for the MacBook Pro is labeled as "Erica's MacBook".
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  Exhibit 17                                                                                                                                                       003199533
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               approximately 50,000 messages were created on this computer on 09/20/14; 10 of which were last
               accessed between 09/01/15 and 01/28/165 .

               Stroz identified two pictures of chat messages dated 1/28/2016 in which Google employees informed
               Levandowski that they have decided to stay where they are. At the time of this report, these have not
               been processed into Relativity.

               Stroz identified approximately 24,000 files and folders in the folder
               "/Users/anthony/Desktop/boards/chauffeur-svn/.svn" that were moved to the Trash on or around
               12/14/2015. This information was found only within system artifacts; the files and folders themselves
               no longer reside on this device.

                                                                        ES002: iPhone 6S Plus

               Summary of Deleted Content
               Stroz identified evidence of file deletion on this device. For example, there are approximately 1,300
               deleted chat messages; the following table shows some messages that relate to data destruction.




               Summary of Data Copy\Transfer
               Stroz identified the Dropbox application installed on this device, including 14 files cached in the Dropbox
               archive. These 14 files were reviewed and are not Potentially Relevant.
               Summary of Potentially Relevant Data
               Stroz Friedberg's forensic analysis identified Potentially Relevant data stored on this device (See
               Summary of Deleted Content).



               5 The last accessed dates can reflect file interaction with a user or a system process. Stroz determined these timestamps to likely be the result
               of user interaction because they appear to be targeted access.


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  Exhibit 17                                                                                                                                                       003199533
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                                                           Webmail Accounts

               Summary of Potentially Relevant Data
               Stroz has reviewed over a million files in Relativity as part of its on-going efforts to identify Potentially
               Relevant data. The following email accounts have been reviewed in their entirety as part of that review;
               the full details of that analysis will be summarized in our final report.




                                                   ES027: Personal Dropbox Account

               Summary of Deleted Content
               Stroz reviewed the Dropbox event logs for evidence of file deletion and identified several entries
               indicating various users including Anthony Levandowski, Colin Sebern, and Suzanna Musick deleted data
               from this account between September 2015 and January 2016.

               Summary of Data Copy\Transfer
               This account is a file storage repository which may be used to share files with individuals who have been
               given access to specific files and folders. The general purpose of a Dropbox account is to store files that
               can be synchronized to and accessed from any device or a web browser.

               Summary of Potentially Relevant Data
               This account contains a folder titled "Chauffeur" which Levandowski identified as containing Potentially
               Relevant data. Stroz reviewed the Dropbox event logs and identified the following events related to
               Potentially Relevant data.




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  Exhibit 17                                                                                                                   003199533
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                                        225 events regarding Colin Sebern adding
                                        225                               a dding \deleting files to the account between
                                        11/15/2015
                                        1 1/15/2015 and 01/29/2016           related to the 'mirrors' folder

                                                            ES031: Drobo 2
               Summary of Potentially Relevant Data
               Stroz Friedberg analyzed the five 4 TB hard drives contained within this device; each of which had been
               wiped and contained absolutely no data. Specifically, Stroz Friedberg calculated the MDS hash value 6
               for each drive to confirm that they each contain all zeros.

                                                         ES034: Cooler Master Desktop

               Summary of Deleted Content
               Stroz Friedberg's forensic analysis of this device identified no evidence of mass file deletion or wiping.

               Summary of Data Copy\Transfer
               Stroz Friedberg's forensic analysis of this device identified no evidence of data copy or transfer.




               6 MD5 is a widely used algorithm used to verify data integrity. It is known to be the digital fingerprint of a file or
               set of data.

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  Exhibit 17                                                                                                                            003199533
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               Summary of Potentially Relevant Data
               Stroz Friedberg's forensic analysis of this device identified no Potentially Relevant data.

                                                            ES045: iPad Mini

               Summary of Deleted Content
               Stroz Friedberg's forensic analysis of this device identified several deleted Notes, which were sent to the
               Stroz Review Team for further review.

               Summary of Data Copy\Transfer
               Stroz Friedberg's forensic analysis of this device identified no evidence of data copy or transfer.

               Summary of Potentially Relevant Data
               Stroz Friedberg's forensic analysis of this device identified no Potentially Relevant data.

                                                              ES048: iPad 3

               Stroz Friedberg identified that this device is encrypted and cannot be accessed without the iTunes
               backup password. Stroz attempted all passwords provided by Levandowski; however, none were
               capable of decrypting the device.

                                                        ES057: Asus Nexus Tablet

               Stroz Friedberg identified that this device is locked and cannot be accessed. Levandowski informed Stroz
               that he does not remember the password for this device.




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  Exhibit 17                                                                                                                 003199533
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